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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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RAHUL MANCHANDA,

                                                           Plaintiff,            NOTICE OF
                                                                                 APPEARANCE
                                  -against-
                                                                                 23 Civ.9292 (JPC) (KHP)
ATTORNEY GRIEVANCE COMMITTEE CHIEF ABIGAIL
REARDON, STAFF ATTORNEY REMI SHEA, CHIEF
COUNSEL JORGE DOPICO, JUDGE ROLANDO ACOSTA,
NYPD, and FBI NYC FIELD OFFICE,

                                                          Defendants.

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                 PLEASE TAKE NOTICE that INNA SHAPOVALOVA, Senior Counsel,

hereby appears as counsel of record on behalf of the Corporation Counsel of the City of New York,

the Hon. Sylvia O. Hinds-Radix, attorney for Interested Party Office of the Corporation Counsel

of the City of New York. 1

Dated: New York, New York
       December 22, 2023

                                                              HON. SYLVIA O. HINDS-RADIX
                                                              Corporation Counsel of the City of
                                                              New York
                                                              100 Church Street, Rm. 3-180
                                                              New York, New York 10007
                                                              Tel: (212) 356-2656
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                                                              Respectfully submitted,

                                                              By:      Inna Shapovalova
                                                                      ___________________________
                                                                      INNA SHAPOVALOVA

1
 This case has been assigned to Assistant Corporation Counsel Randy Nandlall, who is awaiting
admission to the New York Bar. Mr. Nandlall is handling this matter under my supervision and
may be reached at (212) 356-2356 or rnandlal@law.nyc.gov.
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                                              Senior Counsel



cc:   VIA FIRST CLASS MAIL
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      Plaintiff pro se
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